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                                                                          6                     IN THE UNITED STATES DISTRICT COURT
                                                                          7                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                               For the Northern District of California
United States District Court




                                                                          9   LILITH GAMES (SHANGHAI) CO.       )   Case No. 15-CV-01267-SC
                                                                              LTD.,                             )
                                                                         10                                     )   ORDER DENYING PLAINTIFF'S
                                                                                           Plaintiff,           )   MOTION FOR PRELIMINARY
                                                                         11                                     )   INJUNCTION
                                                                                    v.                          )
                                                                         12                                     )
                                                                                                                )
                                                                         13   UCOOL, INC. AND UCOOL LTD.,       )
                                                                                                                )
                                                                         14                Defendants.          )
                                                                                                                )
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                                                                         18    I. INTRODUCTION
                                                                         19          Now before the Court is Plaintiff Lilith Games Co.'s
                                                                         20   ("Lilith") motion for preliminary injunction.     ECF No. 30 ("Mot.").
                                                                         21   Lilith brings this motion to enjoin Defendants uCool, Inc. and
                                                                         22   uCool LTD ("uCool") from "any further misappropriation of Lilith's
                                                                         23   trade secret" and from "reproducing, copying, preparing any
                                                                         24   derivative works, and/or distributing any of Lilith's registered
                                                                         25   copyrights . . . which necessarily includes Lilith's code that is
                                                                         26   now unlawfully contained in uCool's game Heroes Charge . . . ."
                                                                         27   Mot at 24.
                                                                         28   ///
                                                                          1   The motion is fully briefed,1 and oral argument was held on
                                                                          2   September 11, 2015.      Having considered the parties' submissions,
                                                                          3   argument, and the relevant law, and for the reasons discussed
                                                                          4   herein, Lilith's motion to preliminarily enjoin uCool is DENIED,
                                                                          5   and uCool's evidentiary objections are OVERRULED.
                                                                          6
                                                                          7       II. BACKGROUND
                                                                          8           Plaintiff Lilith is a video game developer that released the
                                                                              game Dao Ta Chuan Qi (translated as "Sword and Tower")2 in China in
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                                                                         10   February 2014.       Lilith holds Chinese copyright registrations in
                                                                         11   Sword and Tower's Lua3 source code and alleges that it owns the
                                                                         12   copyrights to that code pursuant to Chinese copyright law.       Sword
                                                                         13   and Tower has enjoyed great commercial success, and as of August
                                                                         14   2014, was the leading game in Asia.       Mot. at 5.
                                                                         15           Defendant uCool is a video game marketer who allegedly
                                                                         16   obtained access to Lilith's copyrighted software code for Sword and
                                                                         17   Tower and used it to create its own game, Heroes Charge, which it
                                                                         18   published in the United States in August 2014.
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                                                                         25     ECF Nos. 69 ("Opp'n"), 77 ("Reply"), 87-1 ("Surreply").
                                                                              2
                                                                         26     The game has also been referred to as "Dota Legends". See, e.g.,
                                                                              ECF No. 43-01 ¶ 2.
                                                                              3
                                                                         27     Lua is a programming language commonly used to develop video
                                                                              games.
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                                                                          6        Lilith first learned of uCool's allegedly unlawful copying in
                                                                          7   August 2014, at which point it attempted to resolve the dispute by
                                                                          8   issuing a take-down notice to Apple.5   The parties then exchanged
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                                                                          9   correspondence through the end of November 2014, when those talks
                                                                         10   stalled without any action from Apple regarding the takedown
                                                                         11   request.
                                                                         12        In March 2015, Lilith decided to release Sword and Tower in
                                                                         13   countries outside of China including the United States, Japan, and
                                                                         14   certain European countries.   Because of the similarities between
                                                                         15   the games and because Heroes Charge was already active in many of
                                                                         16   these countries, many users believed that Sword and Tower had been
                                                                         17   copied from Heroes Charge and posted comments to that effect on the
                                                                         18   internet.   See Mot. at 12-13.   Lilith cites these comments as
                                                                         19   evidence that uCool's alleged copying has created ongoing damage to
                                                                         20   Lilith's reputation and confusion in the marketplace.    Id.   Lilith
                                                                         21   also claims that it has been unable to enter into an exclusive
                                                                         22   distribution agreement in the United States as a result of the
                                                                         23   presence of Heroes Charge in the US market.   Id.
                                                                         24        Shortly thereafter on March 18, 2015, Lilith filed this action
                                                                         25   -- four months after talks with uCool had broken down.   Lilith
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                                                                                See https://www.youtube.com/watch?v=GdGKx_IhVbg
                                                                              5
                                                                         27     Heroes Charge is sold through the Apple and Android (Google Play)
                                                                              app stores.
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                                                                          1   argues that the four month delay was justified because Lilith is a
                                                                          2   small start-up6 and was reluctant to become involved in costly
                                                                          3   litigation until it was necessary.      Filing suit was not necessary
                                                                          4   until March 2015, according to Lilith, because the harm to Lilith
                                                                          5   in the form of damage to its reputation and its inability to secure
                                                                          6   exclusive distribution agreements did not become apparent until
                                                                          7   March 2015 when Lilith attempted to enter markets where Heroes
                                                                          8   Charge had already been released.
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                                                                          9        In its first claim for relief for copyright infringement,
                                                                         10   Lilith alleges that uCool copied Lilith's copyrighted source code
                                                                         11   embodied in Sword and Tower and used it to create the source code
                                                                         12   for Heroes Charge.   Because Sword and Tower is not a United States
                                                                         13   work as defined in 17 U.S.C. Section 101, Lilith brings its
                                                                         14   copyright infringement claim under the Berne Convention, an
                                                                         15   international agreement governing copyright.
                                                                         16        In its second claim for relief, Lilith alleges that 240,000
                                                                         17   lines of Lua code embodied in Sword and Tower is a trade secret and
                                                                         18   that uCool knowingly misappropriated that trade secret in violation
                                                                         19   of California's Uniform Trade Secrets Act (Cal. Civ. Code § 3426,
                                                                         20   et seq.) when it allegedly used Lilith's code to create Heroes
                                                                         21   Charge.   In support of its trade secret claim, Lilith has presented
                                                                         22   evidence of efforts made to maintain the confidentiality of its
                                                                         23   source code.   For example, Lilith stores the source code on a
                                                                         24   secure server and limits access only to those employees who need it
                                                                         25   to perform their duties.   Lilith also encrypts the Sword and Tower
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                                                                         27     It is unclear what Lilith means by "small start-up," particularly
                                                                              given that Lilith owns the most popular game in Asia.
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                                                                          1   source code so that it cannot be easily deciphered.   Of the twenty-
                                                                          2   one employees who have had access to the source code, however, only
                                                                          3   five signed confidentiality agreements prior to this litigation.
                                                                          4        Two weeks after filing its complaint, Lilith filed a motion
                                                                          5   for preliminary injunction.   ECF No. 17.   On April 22, 2015, Lilith
                                                                          6   withdrew its motion as a result of a dispute with uCool relating to
                                                                          7   a mutual exchange of source code for analysis but re-filed the
                                                                          8   motion on May 5, 2015.   On June 4, 2015, the Court granted uCool's
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                                                                          9   motion for an extension of time so that both sides could perform
                                                                         10   limited discovery prior to the close of briefing on this motion,
                                                                         11   including a mutual exchange of source code.   ECF No. 48.   In
                                                                         12   response to Lilith's discovery requests, uCool produced a new
                                                                         13   version of the Heroes Charge source code that had yet to be
                                                                         14   released.   This new version was written in a different programming
                                                                         15   language called C#.   Subsequently, uCool also produced portions of
                                                                         16   the Lua version of the Heroes Charge source code.   Both parties
                                                                         17   analyzed the code that was produced and submitted expert
                                                                         18   declarations as part of their briefing on this motion.   See ECF
                                                                         19   Nos. 69-17 ("Kitchen Decl."), 74-4 ("Roman Decl."), 109 ("Suppl.
                                                                         20   Roman Decl.").   In addition to the briefs and supporting papers,
                                                                         21   the Court heard oral argument on September 11, 2015, at which the
                                                                         22   parties agreed they could be ready for trial in approximately nine
                                                                         23   months.
                                                                         24
                                                                         25   III. LEGAL STANDARD
                                                                         26        Before a court can grant preliminary injunctive relief, a
                                                                         27   plaintiff must first "establish that he is likely to succeed on the
                                                                         28   merits, that he is likely to suffer irreparable harm in the absence



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                                                                          1   of preliminary relief, that the balance of equities tips in his
                                                                          2   favor, and that an injunction is in the public interest."    Marlyn
                                                                          3   Nutraceuticals, Inc. v. Mucos Pharma GmbH & Co., 571 F.3d 873, 877
                                                                          4   (9th Cir. 2009) (citations omitted).   This is commonly referred to
                                                                          5   as the "four-factor test."   See, e.g., Sierra Forest Legacy v. Rey,
                                                                          6   577 F.3d 1015, 1021 (9th Cir. 2009).
                                                                          7        Although it was once Ninth Circuit law that a plaintiff in
                                                                          8   copyright cases was entitled to a presumption of irreparable harm
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                                                                          9   on a showing of likelihood of success on the merits, the Supreme
                                                                         10   Court ended that practice in eBay Inc. v. MercExchange, L.L.C..
                                                                         11   See 547 U.S. 388, 393-94 (2006) ("[T]his Court has consistently
                                                                         12   rejected invitations to replace traditional equitable
                                                                         13   considerations with a rule that an injunction automatically follows
                                                                         14   a determination that a copyright has been infringed.").   Two years
                                                                         15   later in Winter v. Natural Res. Def. Council, Inc., the Court
                                                                         16   further held that the Ninth Circuit's rule allowing for a mere
                                                                         17   "possibility" of irreparable harm was insufficient.   See 555 U.S.
                                                                         18   7, 20 (2008).   Thus, as the Ninth Circuit has since clarified,
                                                                         19   "even in a copyright infringement case, the plaintiff must
                                                                         20   demonstrate a likelihood of irreparable harm as a prerequisite for
                                                                         21   injunctive relief."   Flexible Lifeline Sys. v. Precision Lift,
                                                                         22   Inc., 654 F.3d 989, 998 (9th Cir. 2011) (emphasis added).
                                                                         23   Moreover, because a preliminary injunction "is an extraordinary
                                                                         24   remedy never awarded as of right," a district court may decide to
                                                                         25   deny a preliminary injunction pursuant to its equitable discretion
                                                                         26   even where success on the merits is likely.   Winter, 555 U.S. at
                                                                         27   24; see 17 U.S.C. § 502(a) (providing that a court "may . . . grant
                                                                         28   temporary and final injunctions on such terms as it may deem



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                                                                          1   reasonable to prevent or restrain infringement of a copyright")
                                                                          2   (emphasis added); eBay Inc., 547 U.S. at 391 (2006); Perfect 10,
                                                                          3   Inc. v. Google, Inc., 653 F.3d 976, 980 (9th Cir. 2011).
                                                                          4        Although eBay and Winters require district courts to consider
                                                                          5   each of the factors of the four-factor test before granting a
                                                                          6   preliminary injunction, the Ninth Circuit has held that the factors
                                                                          7   may be balanced such that "a stronger showing of one element may
                                                                          8   offset a weaker showing of another."   Alliance for the Wild Rockies
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                                                                          9   v. Cottrell, 632 F.3d 1127, 1131 (9th Cir.2011).
                                                                         10        In denying a preliminary injunction, however, a court need not
                                                                         11   make findings on all four factors if fewer factors are dispositive
                                                                         12   of the issue.   See Winter, 555 U.S. at 23–24 ("A proper
                                                                         13   consideration of [the balance of hardships and the effect of the
                                                                         14   preliminary injunction on the public interest] alone requires
                                                                         15   denial of the requested injunctive relief.   For the same reason, we
                                                                         16   do not address the lower courts' holding that plaintiffs have also
                                                                         17   established a likelihood of success on the merits."); Global
                                                                         18   Horizons, Inc. v. United States Dep't of Labor, 510 F.3d 1054, 1058
                                                                         19   (9th Cir. 2007) ("Once a court determines a complete lack of
                                                                         20   probability of success or serious questions going to the merits,
                                                                         21   its analysis may end, and no further findings [on irreparable harm,
                                                                         22   balance of hardships, or public interest] are necessary.").
                                                                         23
                                                                         24   IV. DISCUSSION
                                                                         25        A.   Mootness
                                                                         26        In its opposition, uCool argues that Lilith's motion is moot
                                                                         27   because uCool recently completed a rewrite of the Heroes Charge
                                                                         28   source code using a different programming language.   This new



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                                                                          1   version of Heroes Charge uses the programming language C# instead
                                                                          2   of Lua, the language used by Lilith to write the source code for
                                                                          3   Sword and Tower.    Lilith's expert, however, presented evidence in
                                                                          4   his declaration showing that the source code is still substantially
                                                                          5   similar notwithstanding the rewrite, including significant portions
                                                                          6   that were "literally copied and are identical" or "copied and then
                                                                          7   translated, modified, reordered, or otherwise obscured in such a
                                                                          8   way that common code comparison programs would not be able to
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                                                                          9   detect the similarities."   Roman Decl. ¶ 43.   uCool counters that
                                                                         10   (1) Lilith's analysis only specifically pointed to 19 lines of
                                                                         11   code, (2) C# is so different from Lua "that the new code cannot
                                                                         12   have been copied from Lilith's code but must have been built from
                                                                         13   scratch", and (3) Lilith's analysis focused on external files and
                                                                         14   abstract elements that are not related to the code at issue.
                                                                         15   Surreply at 4.
                                                                         16        The C# version of Heroes Charge was being used by less than 1%
                                                                         17   of users as of the date of the hearing on this motion.    Over 99% of
                                                                         18   users continue to use a Lua version of the game, which the parties
                                                                         19   agree contains "significant similarities" to the Lua code embodied
                                                                         20   in Sword and Tower.   Kitchen Decl. ¶ 135.   The parties' dispute
                                                                         21   over whether the C# version of Heroes Charge is substantially
                                                                         22   similar to the Lua version of Sword and Tower, therefore, is
                                                                         23   largely academic.   Furthermore, as explained in subsequent
                                                                         24   sections, insofar as the C# version of Heroes Charge merely
                                                                         25   translated Lilith's code from Lua to C#, it would still infringe on
                                                                         26   Lilith's copyright in the same way that a French translation of an
                                                                         27   English novel would infringe on the latter's copyright.
                                                                         28        Accordingly, the Court finds that Lilith's motion is not moot.



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                                                                          1           B.   Likelihood of Success on the Merits
                                                                          2           Lilith pleads two claims in its Second Amended Complaint:
                                                                          3   copyright infringement and trade secret misappropriation.     See ECF
                                                                          4   No. 83 ("SAC").    While Lilith must set forth evidence to support a
                                                                          5   likelihood of success on at least one of its claims, it need not
                                                                          6   demonstrate an absolute certainty of success.      See Abdul Wali v.
                                                                          7   Coughlin, 754 F.2d 1015, 1024–1025 (2d Cir. 1985); Netlist Inc. v.
                                                                          8   Diablo Techs., Inc., No. 13-cv-05962, 2015 U.S. Dist. LEXIS 3285,
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                                                                          9   at *19-20 (N.D. Cal. Jan. 12, 2015).
                                                                         10                1.   Copyright Infringement
                                                                         11           In order to demonstrate a likelihood of success on its
                                                                         12   copyright claim, Lilith must show (1) ownership of a valid
                                                                         13   copyright and (2) copying of the original elements of the protected
                                                                         14   work.    Feist Publications v. Rural Tel. Serv. Co., 499 U.S. 340,
                                                                         15   361 (1991).
                                                                         16                     a.   Ownership
                                                                         17           Because Lilith claims it owns a Chinese copyright to the
                                                                         18   source code in Sword and Tower, ownership is a question of Chinese
                                                                         19   law.    See Lahiri v. Universal Music & Video Distribution, Inc., 513
                                                                         20   F. Supp. 2d 1172, 1174 n.4 (C.D. Cal. 2007).
                                                                         21           Article 59 from the People's Republic of China Copyright Law
                                                                         22   ("PRCCL") provides that the State Council is responsible for
                                                                         23   setting measures for the protection of computer software.     ECF No.
                                                                         24   69-2 ("PRCCL Amendments") at 25-26 ("Article 59:     Measures for the
                                                                         25   protection of computer software and of the right of communication
                                                                         26   through information network shall be formulated separately by the
                                                                         27   State Council.") (emphasis added).      Pursuant to that mandate, the
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                                                                          1   State Council has issued Regulations on Computer Software
                                                                          2   ("Software Regulations").   ECF No. 77-9 ("Chu Decl.") ¶ 9.
                                                                          3        Article 7 of the Software Regulations states that registration
                                                                          4   of a copyright is prima facie evidence of copyright ownership.       Id.
                                                                          5   ¶¶ 10-12.   The Software Regulations also state that the "copyright
                                                                          6   in a piece of software belongs to its developer."     Id. ¶ 10.   If an
                                                                          7   organization's "name is mentioned in connection with a piece of
                                                                          8   software," the organization, "shall, in the absence of proof to the
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                                                                          9   contrary, be its developer."    Id.    In addition, Article 13 provides
                                                                         10   that, if an employee develops a piece of software in the course of
                                                                         11   his or her employment, the employer is the owner if just one of the
                                                                         12   following conditions are met:
                                                                         13        (1) the software is developed based on the development
                                                                                   objective explicitly designated in the line of his
                                                                         14        service duty;
                                                                         15        (2) the software is a foreseeable or natural result of
                                                                                   his work activities in the line of his service duty; or
                                                                         16
                                                                                   (3) the software is developed mainly with the material
                                                                         17        and technical resources of the legal entity or other
                                                                                   organization, such as funds, special equipment or
                                                                         18        unpublished special information, and the legal entity or
                                                                                   other organization assumes the responsibility thereof.
                                                                         19
                                                                         20   Id. ¶ 13.
                                                                         21        Here, Lilith owns valid Chinese copyright registrations and
                                                                         22   therefore has provided prima facie evidence of copyright ownership
                                                                         23   under Chinese law.   ECF Nos. 17-1 ¶ 4, 17-2.    In addition, it is
                                                                         24   undisputed that Lilith is the entity that filed for and obtained
                                                                         25   the copyright registrations and that these registrations expressly
                                                                         26   list Lilith as the copyright owner.     Thus, Lilith is the developer
                                                                         27   of the Sword and Tower source code and the copyright for Sword and
                                                                         28   Tower consequently belongs to Lilith.     Finally, even though the



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                                                                          1   source code for Sword and Tower was developed by Lilith's
                                                                          2   employees, Lilith retains ownership of the copyright even if it did
                                                                          3   not secure assignments from those employees because it meets all of
                                                                          4   the conditions set out in Article 13 of the Software Regulations.
                                                                          5        For these reasons, the Court finds that Lilith is likely to
                                                                          6   prove copyright ownership at trial.
                                                                          7                    b.   Copying
                                                                          8        Copying can be established by either presenting direct
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                                                                          9   evidence of copying, or absent that, circumstantial evidence that
                                                                         10   the infringer (1) had access to the copyrighted work, and (2) that
                                                                         11   the parties' works are substantially similar.   L.A. Printex Indus.
                                                                         12   Inc. v. Aeropostale, Inc., 676 F.3d 841, 846 (9th Cir. 2012).
                                                                         13                         i.   Access
                                                                         14        "Circumstantial evidence of reasonable access is proven in one
                                                                         15   of two ways: (1) a particular chain of events is established
                                                                         16   between the plaintiff's work and the defendants access to that work
                                                                         17   . . . , or (2) the plaintiff's work has been widely disseminated."
                                                                         18   Three Boys Music Corp. v. Bolton, 212 F.3d 477, 482 (9th Cir.
                                                                         19   2000).
                                                                         20        uCool's access is demonstrated by the fact that Lilith's
                                                                         21   copyright declaration can be found in at least one version of
                                                                         22   Heroes Charge.   See ECF No. 19 ("Ray Decl.") (providing a video
                                                                         23   recording of the copyright declaration appearing in Heroes Charge).
                                                                         24   Lilith also argues that uCool had access because Sword and Tower
                                                                         25   has been widely disseminated since its release in February 2014.
                                                                         26   It is unclear, however, how this latter argument is relevant unless
                                                                         27   the source code is included anytime a user downloads the game from
                                                                         28   the app store.   It is the Court's understanding that the source



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                                                                          1   code is not disseminated with the game itself, and therefore the
                                                                          2   fact that Sword and Tower has been "downloaded over 29 million
                                                                          3   times through one distribution channel alone" does not help to
                                                                          4   establish access.    Mot. at 16.   Regardless, based on the presence
                                                                          5   of Lilith's copyright declaration alone, the Court concludes that
                                                                          6   Lilith is likely to satisfy the element of access at trial.
                                                                          7                        ii.    Substantial Similarity
                                                                          8        Computer programs, including video games, are protected under
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                                                                          9   copyright law as literary works containing both literal and non-
                                                                         10   literal elements.7    See Miller v. Facebook, Inc., No. C 10-00264
                                                                         11   WHA, 2010 WL 2198204, at *4 (N.D. Cal. May 28, 2010).      Just as the
                                                                         12   literal elements of a book are the words themselves, the literal
                                                                         13   elements of a computer program are the alphanumeric instructions
                                                                         14   written by a programmer –- i.e., the source code.      See Johnson
                                                                         15   Controls, Inc. v. Phoenix Control Sys., Inc., 886 F.2d 1173, 1175
                                                                         16   (9th Cir. 1989).     This can be contrasted with the non-literal
                                                                         17   elements, expressive aspects of the source code steps removed from
                                                                         18   the alphanumeric instructions themselves.      In the case of a book,
                                                                         19   non-literal elements include the characters, setting, and plot
                                                                         20   created by the words on the page.       Similarly, the non-literal
                                                                         21   elements of a computer program include expressive elements created
                                                                         22
                                                                              7
                                                                         23     The distinction between literal and non-literal elements is
                                                                              separate from the distinction between literal and non-literal
                                                                         24   copying. See Altai, 982 F.2d at 701–02. "Literal" copying is
                                                                              verbatim copying of original expression. "Non-literal" copying is
                                                                         25   "paraphrased or loosely paraphrased rather than word for word."
                                                                              Lotus Dev. Corp. v. Borland Int'l, 49 F.3d 807, 814 (1st Cir.
                                                                         26   1995). Both types of copying are unlawful, and both are at issue
                                                                              in this case. The Court uses the word "literal" in this order,
                                                                         27   however, to distinguish the types of protectable elements, not as a
                                                                              synonym for verbatim copying.
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                                                                          1   by the source code: the code's order, sequence, and structure; the
                                                                          2   user interface (including artwork and other visual elements
                                                                          3   embodied in the code); and -- in the case of sophisticated video
                                                                          4   games -- the plot, characters, and setting of the game.     See id. at
                                                                          5   1175.    It is well established that copyright protection for a
                                                                          6   computer program extends to both literal and non-literal elements
                                                                          7   of a computer program.    See id.; Computer Associates Int'l, Inc. v.
                                                                          8   Altai, Inc., 982 F.2d 693, 702 (2d Cir. 1992).      Thus, the Court
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                                                                          9   will examine each in turn.
                                                                         10                               1.   Literal Elements
                                                                         11           Substantial similarity in the literal elements of a computer
                                                                         12   program can be demonstrated either by showing verbatim (or near
                                                                         13   verbatim) copying of the source code or that the "fundamental
                                                                         14   essence" of the code was duplicated.    See 4-13 Nimmer on Copyright
                                                                         15   § 13.03.    Returning to the book analogy, the fundamental essence of
                                                                         16   a book passage is duplicated when an infringer paraphrases the
                                                                         17   passage or simply translates it into a different language.
                                                                         18   Similarly, copying will be found where source code is translated
                                                                         19   from one programming language to another or where insignificant
                                                                         20   changes are made, such as replacing certain terms, reordering lines
                                                                         21   of code, or adding or removing comments.8    See also Roman Decl. ¶
                                                                         22   53 (listing common methods used to obfuscate copying).
                                                                         23           If at least some amount of copying can be shown, whether the
                                                                         24   works are substantially similar turns on whether the copying is
                                                                         25
                                                                              8
                                                                         26     Similarly, such minor variations violate a   copyright holder's
                                                                              exclusive right to create derivative works.    See 1-3 Nimmer on
                                                                         27   Copyright § 3.01 ("a work will be considered   a derivative work only
                                                                              if it would be considered an infringing work   . . . .").
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                                                                          1   sufficiently extensive to constitute a substantial portion of the
                                                                          2   plaintiff's work.   4-13 Nimmer on Copyright § 13.03.   "The
                                                                          3   quantitative relation of the similar material to the total material
                                                                          4   contained in plaintiff's work is certainly of importance.      However,
                                                                          5   even if the similar material is quantitatively small, if it is
                                                                          6   qualitatively important, the trier of fact may properly find
                                                                          7   substantial similarity."   Id.
                                                                          8        Lilith embedded within the Sword and Tower source code a
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                                                                          9   copyright declaration that, if triggered, results in a pop-up
                                                                         10   window that reads "LILITH GAMES ©."    Lilith provided the Court with
                                                                         11   convincing evidence that at least one version of Heroes Charge
                                                                         12   contains the code that triggers this copyright declaration.      See
                                                                         13   Ray Decl..   Although uCool claims it was unable to replicate the
                                                                         14   pop-up, it conspicuously fails to identify the version of Heroes
                                                                         15   Charge used in those attempts -- that is, whether it used the same
                                                                         16   version used by Lilith (Version 1.8.1) or whether it used later
                                                                         17   versions that uCool had changed subsequent to the start of this
                                                                         18   litigation to prevent the pop-up from appearing.    uCool also
                                                                         19   refused to provide this information in discovery.   ECF No. 77-1 ¶¶
                                                                         20   3, 9, 11.
                                                                         21        The appearance of Lilith's copyright declaration in uCool's
                                                                         22   game is sufficient to establish more than a de minimis level of
                                                                         23   copying.    See Brocade Commc'ns Sys v. A10 Networks, Inc., No. 10-
                                                                         24   3428 PSG, 2013 U.S. Dist. LEXIS 8113, at *34-36 (N.D. Cal. Jan. 10,
                                                                         25   2013) (holding that the copying of 145 lines of copyrighted code
                                                                         26   provided substantial evidence that defendants' actions exceeded
                                                                         27   merely de minimis copying of code).    If that were not enough,
                                                                         28   Lilith presented other evidence of widespread duplication.     For



                                                                                                                14
                                                                          1   example, Lilith provided the Court with side-by-side comparisons of
                                                                          2   the source code in Sword and Tower as compared to the C# version of
                                                                          3   Heroes Charge.   The comparisons show that much of the code in
                                                                          4   Heroes Charge is identical, merely translated into C#, or
                                                                          5   insignificantly modified.     See, e.g., Roman Decl. ¶¶ 70, 71, 74,
                                                                          6   79, 87, 88, 97-99.     Lilith also provided the Court with comparisons
                                                                          7   of the source code in Sword and Tower as compared to a Lua version
                                                                          8   of Heroes Charge.      The comparison showed again that much of the
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                                                                          9   code is identical.     See, e.g., Suppl. Roman Decl. ¶¶ 16-20, 22.
                                                                         10        Considering the literal elements of the source code alone, the
                                                                         11   Court finds that a finder of fact is likely to conclude that the
                                                                         12   source code for Heroes Charge is substantially similar to the
                                                                         13   source code for Sword and Tower.     Nevertheless, the Court also
                                                                         14   examines the non-literal elements of the source code in the
                                                                         15   following section.
                                                                         16                                2.   Non-Literal Elements
                                                                         17        Whether the non-literal elements of a program "are protected
                                                                         18   depends on whether, on the particular facts of each case, the
                                                                         19   component in question qualifies as an expression of an idea, or an
                                                                         20   idea itself."    Id.   The Ninth Circuit has endorsed an "abstraction-
                                                                         21   filtration-comparison" test formulated by the Second Circuit and
                                                                         22   expressly adopted by several other circuits.     Sega Enters. Ltd. v.
                                                                         23   Accolade, Inc., 977 F.2d 1510, 1525 (9th Cir. 1992) ("In our view,
                                                                         24   in light of the essentially utilitarian nature of computer
                                                                         25   programs, the Second Circuit's approach is an appropriate one.").
                                                                         26   As the Second Circuit explains, this test has three steps.        In the
                                                                         27   abstraction step, the court identifies which aspects of the program
                                                                         28   constitute its expression and which are the ideas.       In the



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                                                                          1   filtration step, the court "sift[s] out all non-protectable
                                                                          2   material," including ideas and "expression that is necessarily
                                                                          3   incidental to those ideas."   Id. at 706.   In the final step, the
                                                                          4   court compares the remaining creative expression with the allegedly
                                                                          5   infringing program.
                                                                          6        In the expert declaration of Kendyl Roman, Lilith provided an
                                                                          7   analysis of the non-literal elements of the Lua source code from
                                                                          8   Sword and Tower and the C# source code from Heroes Charge.      Mr.
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                                                                          9   Roman states that he applied the abstraction-filtration-comparison
                                                                         10   test in his analysis.   Mr. Roman, however, failed to document his
                                                                         11   application of each step, and it is not entirely clear as a result
                                                                         12   whether all of the similarities to which he points are protected by
                                                                         13   copyright.   Nevertheless, it is clear that there are substantial
                                                                         14   similarities across a significant number of copyrighted elements.
                                                                         15   For example, at the component level of abstraction, similar groups
                                                                         16   of files are found in similar directories, such as the files for
                                                                         17   the user interface.   Roman Decl. ¶ 67.   In addition, at the flow
                                                                         18   chart level of abstraction, the sequences show that the same
                                                                         19   algorithm is being implemented.   Id. ¶ 80.   Further, at the
                                                                         20   parameter list level of abstraction, the function calls show
                                                                         21   identical and equivalent parameter lists.     Id. ¶ 81.   Finally, at
                                                                         22   the function level of abstraction, many of the functions are
                                                                         23   identical and show up in the same order inside the file.     Id. ¶ 82.
                                                                         24        Lilith also presents evidence of significant similarities
                                                                         25   between the Lua versions of both games.     See generally Suppl. Roman
                                                                         26   Decl..   Although uCool attempts to dispute some aspects of Lilith's
                                                                         27   analysis, uCool's own expert admitted in his declaration that
                                                                         28   "there are significant similarities between the Lua source code for



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                                                                          1   Heroes Charge and the Lua source code for [Sword and Tower],
                                                                          2   including similarities in [non-literal elements such as] structure,
                                                                          3   function calls, and parameter values."    Kitchen Decl. ¶ 135.
                                                                          4        After considering expert reports from both sides, the Court
                                                                          5   finds that a finder of fact is likely to conclude that the non-
                                                                          6   literal elements of both the Lua and C# versions of Heroes Charge
                                                                          7   are substantially similar to the non-literal elements of Sword and
                                                                          8   Tower.
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                                                                          9                            3.      User Interface
                                                                         10        The forgoing analysis is sufficient to establish that Lilith
                                                                         11   is likely to succeed in showing substantial similarity at trial.
                                                                         12   This includes evidence that uCool copied the source code itself
                                                                         13   (verbatim, with slight modifications, or by translating it from Lua
                                                                         14   to C#) as well as non-literal elements of the source code,
                                                                         15   including its structure, sequence, and organization.   The question
                                                                         16   remains, however, whether the Court should also take into
                                                                         17   consideration the visual elements of the games as they appear on
                                                                         18   the computer screen as well as other aspects perceived by users
                                                                         19   (collectively "the user interface"9).
                                                                         20        Both parties assert that Lilith's claims "present a relatively
                                                                         21   straightforward question of whether uCool copied Lilith's protected
                                                                         22   source code –- a question that will be largely resolved by
                                                                         23   comparing the alphanumeric instructions read by a computer . . . ."
                                                                         24   ECF No. 61 at 1-2, Opp'n at 1.    Lilith also argues, however, that
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                                                                              9
                                                                         26     "The user interface, also called the 'look and feel' of the
                                                                              program, is generally the design of the video screen and the manner
                                                                         27   in which information is presented to the user. Johnson Controls,
                                                                              Inc., 886 F.2d at 1176 n.3.
                                                                         28



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                                                                          1   the similarities in the games' user interfaces are relevant because
                                                                          2   they "constitute circumstantial evidence of uCool's unlawful
                                                                          3   copying [of the Sword and Tower source code]" (Reply at 8).     In
                                                                          4   addition, Lilith points in its Second Amended Complaint ("SAC") to
                                                                          5   the user interface as one of the expressive elements of its source
                                                                          6   code protected by its copyright.    See SAC ¶ 13 (providing various
                                                                          7   screenshots comparing the visual elements of the two games).
                                                                          8   uCool, however, contends that the Court should strike these and
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                                                                          9   similar references in Lilith's filings because Lilith "waived any
                                                                         10   argument that it is asserting a copyright in the [user interface]"
                                                                         11   and admitted in its opposition to the motion to intervene "that
                                                                         12   comparing screen images is irrelevant to this lawsuit."    Opp'n at
                                                                         13   23.   For the reasons set forth below, Lilith's objection is
                                                                         14   OVERRULED and its request to strike is DENIED.
                                                                         15         Lilith did not waive its ability to point to the visual
                                                                         16   similarities between the games.    It included in its SAC screenshots
                                                                         17   comparing the user interfaces.    Further, the Court agrees with
                                                                         18   Lilith that it would not have been relevant to this case to compare
                                                                         19   the intervenors' images with the parties' images.10   After all,
                                                                         20   whether the parties' images infringed the intervenors' copyrighted
                                                                         21   images is immaterial to whether uCool infringed Lilith's
                                                                         22   copyrighted source code.   The same cannot be said, however, about
                                                                         23
                                                                              10
                                                                                On August 17, 2015, the Court denied a motion to intervene, in
                                                                         24   part, because the intervenors' claims focused entirely on the
                                                                              visual similarities between their games and certain characters in
                                                                         25   Heroes Charge and Sword and Tower. ECF No. 93. In its order, the
                                                                              Court agreed with Lilith and uCool that intervention would be
                                                                         26   inappropriate because the intervenors' claims had nothing to do
                                                                              with Lilith’s source code. The order, however, was not intended to
                                                                         27   imply that the visual similarities between Heroes Charge and Sword
                                                                              and Tower are irrelevant to this case.
                                                                         28



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                                                                          1   the similarities between the parties' images.
                                                                          2        A video game copyright protects all of the copyrightable
                                                                          3   elements of that game.   While it is true that the copyright laws
                                                                          4   separately protect the user interface of a computer game as an
                                                                          5   independent audiovisual work (see Data E. USA, Inc. v. Epyx, Inc.,
                                                                          6   862 F.2d 204, 206 (9th Cir. 1988)), courts have also held that a
                                                                          7   user interface is a non-literal element of the program's source
                                                                          8   code (see Johnson Controls, Inc., 886 F.2d at 1175; Lotus Dev.
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                                                                          9   Corp. v. Paperback Software Int'l, 740 F. Supp. 37, 63-65 (D. Mass.
                                                                         10   1990); see also Torah Soft Ltd. v. Drosnin, 136 F. Supp. 2d 276,
                                                                         11   283 (S.D.N.Y. 2001) (connecting the visual output of a computer
                                                                         12   program with the underlying program itself)).   Consistent with that
                                                                         13   view, the Copyright Office issues a single copyright registration
                                                                         14   that protects all of a game's copyrightable elements, regardless of
                                                                         15   whether the game is registered as a literary or audiovisual work.
                                                                         16   See 17 U.S.C. § 102(b); 37 C.F.R. § 202.1.   Thus, although Lilith's
                                                                         17   claim is focused on its source code, that claim includes all of the
                                                                         18   non-literal expressive elements of that code as well, including the
                                                                         19   user interface.
                                                                         20        uCool argues that copyright protection as it relates to a
                                                                         21   video game's source code should be considered separately from a
                                                                         22   game's audiovisual aspects because, in part, there are many ways
                                                                         23   one can write source code to achieve the same audiovisual output.
                                                                         24   For that reason, the argument goes, similarities as to the
                                                                         25   audiovisual outputs are not probative of whether the copyright in
                                                                         26   the source code was violated.
                                                                         27        While it is true that one cannot conclude based on a game's
                                                                         28   visual similarities that the literal alphanumeric instructions



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                                                                          1   written by the programmer are the same, that is not the point.
                                                                          2   Indeed, there are many different ways to write a book to achieve
                                                                          3   the same non-literal expressive elements of plot, setting,
                                                                          4   character, and so forth, whether through the selection of different
                                                                          5   words or the use of different languages.   Insofar as the non-
                                                                          6   literal expressive elements of that book are substantially the same
                                                                          7   as another copyrighted book, however, the former has infringed on
                                                                          8   the latter regardless of whether the words themselves have been
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                                                                          9   copied.   Likewise, infringement will be found where the non-literal
                                                                         10   elements expressed by a game's source code -- including the user
                                                                         11   interface -- are substantially similar to another game, even though
                                                                         12   there are many different ways to write the source code to create
                                                                         13   those non-literal elements.   For that reason, the Court rejects
                                                                         14   uCool's attempts to limit the analysis merely to whether the
                                                                         15   alphanumeric code itself was copied verbatim; copyright analysis is
                                                                         16   not so simplistic.
                                                                         17        Accordingly, the Court finds that the user interface of Sword
                                                                         18   and Tower is one of the various non-literal elements of the source
                                                                         19   code protected by Lilith's copyright, including the visual elements
                                                                         20   as depicted through screenshots in Lilith's complaint, motion, and
                                                                         21   supporting papers.   uCool's objection is therefore OVERRULED.
                                                                         22        Given the significant evidence of copying in the previous two
                                                                         23   sections, the Court need not engage in a full analysis of whether
                                                                         24   the protected elements of the games' user interfaces are
                                                                         25   substantially similar.   It is clear, however, that the striking
                                                                         26   similarities between the games' protected elements such as the
                                                                         27   visual appearance of characters and settings further support the
                                                                         28   Court's conclusion that Lilith is likely to prove substantial



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                                                                          1   similarity at trial.     Indeed, the evidence shows that the games are
                                                                          2   almost identical from the user's standpoint, with only minor
                                                                          3   modifications.     See Mot. 7-10; ECF No. 30-18 ("Yang Decl.") ¶¶ 3-
                                                                          4   13, Ex. A.
                                                                          5        For the forgoing reasons, the Court finds that Lilith is
                                                                          6   likely to succeed on its copyright infringement claim.
                                                                          7                2.    Trade Secret Misappropriation
                                                                          8        In order to demonstrate a likelihood of success on its trade
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                                                                          9   secret claim under California's Uniform Trade Secrets Act
                                                                         10   ("CUTSA"), Lilith must show (1) the existence of a trade secret,
                                                                         11   and (2) misappropriation of the trade secret.      AccuImage
                                                                         12   Diagnostics Corp. v. Terarecon, Inc., 260 F. Supp. 2d 941, 950
                                                                         13   (N.D. Cal. 2003) (citing Cal. Civ. Code § 3426.1(b)).
                                                                         14                      a.   Existence of a Trade Secret
                                                                         15        Under California law, a trade secret is defined as something
                                                                         16   that (1) derives independent economic value, actual or potential,
                                                                         17   from not being generally known to the public or to other persons
                                                                         18   who can obtain economic value from its disclosure or use; and (2)
                                                                         19   is the subject of efforts that are reasonable under the
                                                                         20   circumstances to maintain its secrecy.     Cal. Civil Code §
                                                                         21   34.26.1(b).
                                                                         22        Here, it cannot be questioned that Lilith derives independent
                                                                         23   economic value from Sword and Tower and by extension its protected
                                                                         24   source code.      What is at issue is whether Lilith made reasonable
                                                                         25   efforts to maintain the source code for Sword and Tower as a
                                                                         26   secret.
                                                                         27        Reasonable efforts to maintain the secrecy of certain
                                                                         28   information include limiting access to the information, advising



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                                                                          1   employees of the existence of a trade secret, requiring employees
                                                                          2   to sign nondisclosure agreements, and keeping secret documents
                                                                          3   under lock.   See Religious Technology Center v. Netcom On-Line
                                                                          4   Communication Services, Inc., 923 F. Supp. 1231, 1253 (N.D. Cal.
                                                                          5   1995).   "[F]ailure to employ the fullest range of protective
                                                                          6   techniques will not terminate the secrecy provided that the
                                                                          7   techniques employed were, in and of themselves, reasonably
                                                                          8   prudent."   1-1 Milgrim on Trade Secrets § 1.04.
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                                                                          9        The Court finds that Lilith's efforts to maintain the
                                                                         10   confidentially of its source code, while not as rigorous as they
                                                                         11   could have been, were sufficiently reasonable to maintain the code
                                                                         12   as a trade secret.     Lilith keeps its source code on a secure server
                                                                         13   and limits access only to those employees who need it to perform
                                                                         14   their duties.   Lilith also encrypts the Sword and Tower source code
                                                                         15   so that it cannot be easily deciphered.    Although Lilith failed to
                                                                         16   secure confidentiality agreements from all of the employees that
                                                                         17   had access to the code, Lilith has presented evidence to show that
                                                                         18   these employees understood Lilith's code to be confidential
                                                                         19   business information.    Further, there is no evidence to suggest
                                                                         20   that any of these employees disclosed the code to a third party.
                                                                         21                     b.   Misappropriation
                                                                         22        uCool does not address the misappropriation element in its
                                                                         23   opposition or surreply.    Regardless, the Court takes it up here and
                                                                         24   finds that Lilith is likely to succeed on this element as well.
                                                                         25        Misappropriation can be established by either acquisition or
                                                                         26   disclosure/use:
                                                                         27        (b) Misappropriation means:
                                                                         28



                                                                                                                 22
                                                                                         (1) Acquisition of a trade secret of another without
                                                                          1                  express or implied consent by a person who
                                                                                             knows or has reason to know that the trade
                                                                          2                  secret was acquired by improper means; or
                                                                          3              (2) Disclosure or use of a trade secret of another
                                                                                             without express or implied consent by a person
                                                                          4                  who:
                                                                          5                  (A) Used improper means to acquire knowledge of
                                                                                                 the trade secret; or
                                                                          6
                                                                                             (B) At the time of the disclosure or use, knew
                                                                          7                      or had reason to know that his or her
                                                                                                 knowledge of the trade secret was:
                                                                          8
                                                                                                  (i)    derived from or through a person who
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                                                                          9                              had   utilized  improper  means   to
                                                                                                         acquire it;
                                                                         10
                                                                                                  (ii)   acquired under circumstances giving
                                                                         11                              rise to a duty to maintain its
                                                                                                         secrecy or limit its use; or
                                                                         12
                                                                                                  (iii) derived from or through a person who
                                                                         13                             owed a duty to the person seeking
                                                                                                        relief to maintain its secrecy or
                                                                         14                             limit its use.
                                                                         15
                                                                              Cal. Civ. Code § 3426.1.    As explained below, Lilith has shown
                                                                         16
                                                                              misappropriation by both acquisition and use.
                                                                         17
                                                                                   Lilith provided evidence showing that uCool acquired and used
                                                                         18
                                                                              the source code embodied in Sword and Tower without Lilith's
                                                                         19
                                                                              consent.   As detailed in the Court's copyright analysis above,
                                                                         20
                                                                              Lilith has provided significant evidence showing that uCool copied
                                                                         21
                                                                              its source code.    This includes convincing evidence that at least
                                                                         22
                                                                              one version of Heroes Charge (Version 1.8.1) included a portion of
                                                                         23
                                                                              Lilith's code that triggers Lilith's copyright notice.   Insofar as
                                                                         24
                                                                              there was copying, there is no dispute that it was done without
                                                                         25
                                                                              Lilith's consent.
                                                                         26
                                                                                   Lilith also provided evidence showing that uCool knew or had
                                                                         27
                                                                              reason to know that the source code was acquired by improper means
                                                                         28



                                                                                                                 23
                                                                          1   or in breach of a duty to maintain its secrecy.   "Improper means"
                                                                          2   is defined as "theft, bribery, misrepresentation, breach or
                                                                          3   inducement of a breach of a duty to maintain secrecy, or espionage
                                                                          4   through electronic or other means."    Cal. Civ. Code § 3426.1.
                                                                          5   uCool would have known, or should have known, that the source code
                                                                          6   that it copied in order to create Heroes Charge belonged to Lilith
                                                                          7   given that the user interface is almost identical to Sword and
                                                                          8   Tower, with which uCool would have been familiar given Sword and
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                                                                          9   Tower's significant success in the video game market.    Further, it
                                                                         10   is well known that source code is the confidential property of a
                                                                         11   game's owner.   In that context, it is likely that a trier of fact
                                                                         12   will infer that uCool knew the code was acquired through improper
                                                                         13   means or in breach of a duty because Lilith would not have given
                                                                         14   its competitor, uCool, free access to its code.
                                                                         15        For these reasons, the Court finds that Lilith is likely to
                                                                         16   succeed on its trade secret misappropriation claim.
                                                                         17        C.   Irreparable Harm
                                                                         18        Lilith must provide "evidence and reasoned analysis" that the
                                                                         19   remedies available at law, such as monetary damages, are inadequate
                                                                         20   to compensate for that injury."   eBay, 547 U.S. at 391.
                                                                         21   Alleged harm that is remote or speculative will not be considered
                                                                         22   irreparable; rather, the movant must demonstrate that the
                                                                         23   threatened harm is imminent.   See Colorado River Indian Tribes v.
                                                                         24   Town of Parker, 776 F.2d 846, 849–851 (9th Cir. 1985).
                                                                         25        Lilith advances two theories to support its assertion that it
                                                                         26   will suffer irreparable harm in the absence of a preliminary
                                                                         27   injunction: damage to its reputation and its alleged inability to
                                                                         28   secure an exclusive distribution agreement in the United States.



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                                                                          1         Loss of goodwill, as well as damage to reputation, can support
                                                                          2   a finding of irreparable harm.   See Rovio Entm't, Ltd. v. Royal
                                                                          3   Plush Toys, Inc., No. C 12-5543 SBA, 2012 U.S. Dist. LEXIS 169020,
                                                                          4   *29-33, (N.D. Cal. Nov. 27, 2012).      Lilith argues that it has
                                                                          5   suffered reputational damage because some users have posted
                                                                          6   comments on the internet accusing Lilith of copying Heroes Charge.
                                                                          7   For the reasons set forth below, however, the Court is not
                                                                          8   convinced that anecdotal comments on the internet establish a
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                                                                          9   likelihood of irreparable harm sufficient to justify extraordinary
                                                                         10   relief in the form of a preliminary injunction.
                                                                         11         Lilith points to Rovio Entm't, Ltd. v. Royal Plus Toys, Inc..
                                                                         12   Id.   In Rovio, the defendant was allegedly selling unauthorized
                                                                         13   knockoff plush toys that were inferior but nearly identical in
                                                                         14   appearance to the plaintiff's products in violation of its
                                                                         15   copyrights and trademarks.   Id. at *1.    The court held that the
                                                                         16   plaintiff suffered irreparable harm, in part, because (1)
                                                                         17   irreparable harm in trademark cases includes a loss of trade, (2)
                                                                         18   defendant's product threatened plaintiff's reputation because it
                                                                         19   posed a potential public health risk, and (3) the potential harm to
                                                                         20   plaintiff was significant given the "great energy, time and money"
                                                                         21   plaintiff had spent building its reputation.     Id. at *31-32.
                                                                         22         Although Lilith's evidence suggests the possibility of some
                                                                         23   damage to its reputation, unlike the plaintiffs in Rovio, Lilith
                                                                         24   has not expended great energy, time, and money to build its
                                                                         25   reputation outside of Asia in the markets where its reputation has
                                                                         26   allegedly been damaged by uCool.    Indeed, Lilith is a relative
                                                                         27   newcomer to the United States, Europe, and other markets where
                                                                         28   Heroes Charge has been released.    Moreover, unlike in Rovio where



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                                                                          1   the inferiority of the defendant's product was primarily
                                                                          2   responsible for plaintiff's reputational damage, it does not appear
                                                                          3   that Heroes Charge is necessarily inferior to Sword and Tower.
                                                                          4   Thus, while there is the potential for confusion in the market
                                                                          5   given the similarities between the games, the damage to Lilith's
                                                                          6   reputation caused by this confusion is relatively small.   The
                                                                          7   potential damage is even more limited given that the parties, as
                                                                          8   stated during the hearing on this motion, are likely to go to trial
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                                                                          9   in only nine months' time.
                                                                         10         Instead of facing irreparable harm to its reputation, Lilith
                                                                         11   is primarily facing challenges to its ability to expand into new
                                                                         12   markets.   Heroes Charge was released in the United States over a
                                                                         13   year before Sword and Tower and has built up a significant base of
                                                                         14   users after an aggressive marketing campaign.   Lilith cannot easily
                                                                         15   penetrate this market given the popularity of Heroes Charge and the
                                                                         16   fact that Sword and Tower is incredibly similar from a user's
                                                                         17   perspective.   Although Lilith has been able to secure nonexclusive
                                                                         18   distribution agreements for the release of Sword and Tower in the
                                                                         19   United States, it is likely that it would have been able to secure
                                                                         20   much better terms but for the presence of Heroes Charge in the
                                                                         21   marketplace.   The difference in value between an exclusive and
                                                                         22   nonexclusive distribution contract, however, does not constitute
                                                                         23   irreparable harm given that it can be quantified and remedied
                                                                         24   through monetary damages.
                                                                         25         Because Lilith has failed to establish that it will suffer
                                                                         26   imminent harm that cannot be remedied with monetary damages, the
                                                                         27   Court finds for uCool on this factor.
                                                                         28   ///



                                                                                                               26
                                                                          1         D.     Balance of the Equities
                                                                          2         "In each case, courts 'must balance the competing claims of
                                                                          3   injury and must consider the effect on each party of the granting
                                                                          4   or withholding of the requested relief.'"      Winter, 555 U.S. at 24
                                                                          5   (quoting Amoco Prod. Co. v. Gambell, 480 U.S. 531, 542 (1987)).      In
                                                                          6   doing so, the court balances the injury faced by the applicant for
                                                                          7   an injunction against the injury that would be sustained by the
                                                                          8   defendant if relief were granted.       See American Motorcyclist Ass'n
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                                                                          9   v.Watt, 714 F.2d 962, 966–967 (9th Cir. 1983); Brooktree Corp. v.
                                                                         10   Advanced Micro Devices, Inc., 705 F. Supp. 491, 497 (S.D. Cal.
                                                                         11   1988).
                                                                         12         Here, the balance of the equities tips in uCool's favor.      If
                                                                         13   the Court were to grant Lilith's motion, uCool would be forced to
                                                                         14   take down its most popular game, threatening uCool's viability as a
                                                                         15   company.    See also Open Text, S.A. v. Box, Inc., 36 F. Supp. 3d
                                                                         16   885, 910 (N.D. Cal. 2014) ("A preliminary injunction is a drastic
                                                                         17   remedy and the hardship on a preliminarily enjoined party who is
                                                                         18   required to withdraw its product from the market before trial can
                                                                         19   be devastating.").    uCool would not only lose profits but would
                                                                         20   continue to incur a significant amount of fixed costs associated
                                                                         21   with Heroes Charge.    Further, the harm to uCool would likely be
                                                                         22   irreparable.    Even if uCool was able reintroduce Heroes Charge
                                                                         23   after trial, it would likely struggle to recapture its lost market
                                                                         24   share.     Given the dynamic and fast-moving nature of the video game
                                                                         25   industry, there is a good chance that once users are no longer able
                                                                         26   to use Heroes Charge, they will simply move on to another game.      In
                                                                         27   addition, if Heroes Charge was suddenly unavailable for play, uCool
                                                                         28   ///



                                                                                                                 27
                                                                          1   would likely suffer from a significant loss of goodwill, making it
                                                                          2   difficult to create trust with players in the future.
                                                                          3        The equities are also affected by the eight months that passed
                                                                          4   from when Lilith discovered the alleged copying to when it filed
                                                                          5   for a preliminary injunction.   Lilith first learned of uCool's
                                                                          6   allegedly unlawful copying in August 2014, at which point it
                                                                          7   attempted to resolve the dispute by issuing a take-down notice.
                                                                          8   The parties then exchanged correspondence through the end of
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                                                                          9   November 2014, when those talks stalled without any resolution.
                                                                         10   Lilith then waited an additional four months before filing this
                                                                         11   suit, during which time uCool invested millions of dollars in
                                                                         12   Heroes Charge, including an ad that ran during the Super Bowl.
                                                                         13   Lilith argues that the four-month delay was justified because it
                                                                         14   was reluctant to become involved in costly litigation until it was
                                                                         15   necessary.    Lilith claims filing suit was not necessary until March
                                                                         16   2015 because the harm to its reputation and its inability to secure
                                                                         17   exclusive distribution agreements did not become apparent until
                                                                         18   March 2015.   These challenges were foreseeable given the similarity
                                                                         19   between the games, but even assuming that Lilith was justified in
                                                                         20   waiting, the delay still affects the equities in this case.    uCool
                                                                         21   made huge investments during those four months that would likely be
                                                                         22   lost if the Court were to grant a preliminary injunction.
                                                                         23        In contrast, Lilith does not face significant irreparable harm
                                                                         24   if an injunction is denied.   As discussed in the previous section,
                                                                         25   if successful at trial (a mere nine months from now), Lilith could
                                                                         26   recover significant monetary damages that would compensate it for
                                                                         27   past harm.    At that point, it could also ask the Court to
                                                                         28   permanently enjoin uCool from distributing Heroes Charge moving



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                                                                          1   forward.
                                                                          2        For these reasons, the Court finds that the balance of
                                                                          3   equities tips in favor of uCool.
                                                                          4        E.     Public Interest
                                                                          5        If evidence of infringement is strong, then the public
                                                                          6   interest favors its abatement given that the public has an interest
                                                                          7   in seeing the copyright laws enforced.   See Flextronics Int'l, Ltd.
                                                                          8   v. Parametric Tech., Corp., 2013 U.S. Dist. LEXIS 133403, *28 (N.D.
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                                                                          9   Cal. Sept. 16, 2013).   However, "[i]n the typical case, [this]
                                                                         10   consideration adds little . . . [except where] the public interest
                                                                         11   implicates separate issues."   5-14 Nimmer on Copyright § 14.06.
                                                                         12        Here, evidence of infringement is strong, and therefore the
                                                                         13   public interest tips towards granting the injunction.   However,
                                                                         14   because there are no issues relating to the public interest
                                                                         15   separate from Lilith's likelihood of success on the merits, the
                                                                         16   public interest factor does not weigh heavily in the Court's
                                                                         17   analysis.
                                                                         18        F.     Balancing the Factors
                                                                         19        Having assessed each factor individually, the Court –- using
                                                                         20   its equitable discretion -- weighs the factors together to
                                                                         21   determine whether an injunction should ultimately issue.   Judge
                                                                         22   Posner of the Seventh Circuit aptly described the task at hand:
                                                                         23        A district judge asked to decide whether to grant or deny
                                                                                   a preliminary injunction must choose the course of action
                                                                         24        that will minimize the costs of being mistaken. Because
                                                                                   he is forced to act on an incomplete record, the danger
                                                                         25        of a mistake is substantial.      And a mistake can be
                                                                                   costly.   If the judge grants the preliminary injunction
                                                                         26        to a plaintiff who it later turns out is not entitled to
                                                                                   any judicial relief -- whose legal rights have not been
                                                                         27        violated -- the judge commits a mistake whose gravity is
                                                                                   measured by the irreparable harm, if any, that the
                                                                         28        injunction causes to the defendant while it is in effect.


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                                                                          1   Am. Hosp. Supply Corp. v. Hosp. Products Ltd., 780 F.2d 589, 593
                                                                          2   (7th Cir. 1986).
                                                                          3           Accordingly, the Court will only grant an injunction if the
                                                                          4   irreparable harm to Lilith if the injunction is denied, multiplied
                                                                          5   by Lilith's likelihood of success on the merits, exceeds the
                                                                          6   irreparable harm to uCool if the injunction is granted, multiplied
                                                                          7   by the likelihood that Lilith will not succeed on the merits.11
                                                                          8   See id.; see also Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073,
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                                                                          9   1099 (9th Cir. 2014) (applying a similar test).     Although exact
                                                                         10   figures cannot be calculated, this formula provides the analytical
                                                                         11   framework within which the Court must make its decision.
                                                                         12           This is a close case.   Lilith has demonstrated a strong
                                                                         13   likelihood of success on the merits.     Indeed, prior to the Supreme
                                                                         14   Court's decisions in eBay and Winter, such a showing would have
                                                                         15   compelled the Court to grant the requested relief.     After
                                                                         16   considering the remaining factors, however, the Court finds that
                                                                         17   granting a preliminary injunction at this juncture would be
                                                                         18   inappropriate.    Lilith has not shown a likelihood of irreparable
                                                                         19   harm.    Further, because of the extent of the irreparable harm to
                                                                         20   ///
                                                                         21   ///
                                                                         22   ///
                                                                         23   ///
                                                                         24   ///
                                                                         25   11
                                                                                This framework can also be represented formulaically: Grant
                                                                         26   preliminary injunction if but only if ∗      1    ∗ , where
                                                                              Lilith's probability of success on the merits,      the irreparable
                                                                         27   harm to the plaintiff if the injunction is not granted, and
                                                                              the irreparable harm to the defendant if the injunction is granted.
                                                                         28   Id.



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                                                                          1   the defendant if the injunction is granted, the balance of equities
                                                                          2   tips decidedly in uCool's favor.
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                                                                          4    V. CONCLUSION
                                                                          5        For the forgoing reasons, Lilith's motion for preliminary
                                                                          6   injunction is DENIED.   uCool's evidentiary objections are
                                                                          7   OVERRULED.
                                                                          8
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                                                                          9   IT IS SO ORDERED.
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                                                                         11        Dated: September 23, 2015
                                                                         12                                           UNITED STATES DISTRICT JUDGE
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